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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF
NEW YORK,
Plaintiff,
Civil Action No. 3:13cv808
Vv.
NORTONLIFELOCK, INC.,
Defendant.
ORDER
For the reasons stated in the accompanying Memorandum Opinion, the Court DENIES
Norton’s Motions in Limine V and VI, part of ECF No. 767.
The Court also ORDERS that, no later than March 16, 2022, counsel for Norton must
disclose on the record in writing any information garnered from Dr. Dacier during the period

their representation of Dr. Dacier was a conflict.

Itis SO ORDERED.

Date: 3 =(§ dood M. Hannah fa

Richmond, Virginia United State’ District Judge
